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                                                                                   rILED
                                                                             u.s. DISTRICT C'OURT
                     IN THE UNITED STATES DISTRICT COURT                    DISTRICT OF NEB'RASKA
                         FOR THE DISTRICT OF NEBRASKA
                                                                             I 0 FEB 25 AM 1/: 34
UNITED STATES OF AMERICA,                 )
                                          )                                 OFF ICE OF ThE CLERK
                    Plaintiff,            )                       8:09CR3
                                          )
             v.                           }
                                          }                       ORDER
ANTONIO FRAUSTO,                          )
                                          )
                    Defendant.            }


      This matter comes before the court upon the defendant's Application for Writ of

Habeas Corpus Ad Testificandum (File No. 159). This witness, Jose Rigoberto-Diaz, is

ordered returned to the District of Nebraska for testimony on or before March 30, 2010.

      DATED this 25th day of February, 2010.

                                         BY THE COURT:


                                         ~
                                         sl Joseph F. Bataillon
                                         Chief District Court Judge
